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            l2l1 l) Appearance Bond                     Doc. 8 Filed 12/04/12 Page 1 of
                                                                                     Julie2Ann Campana




                                  UNITED STATES DISTRICT COURT
                                                for the
                                        District of Minnesota


     United States of America.

                  V.


     Julie Ann Campana                                         Case   No. 0864 0:12CR00295-002
            Defendant



                                             APPEARANCE BOND

                                             Defendant's Agreement

I, Julie Awr Canpana (defendant), agree to follow every order of this court, or any court            that
considers this case, and I further agree that this bond may be forfeited if I fail:


            A          to appear for court proceedings;

            tr         if convicted, to   surrender to serve a sentence that the court may impose; or

            I          to comply with all conditions set forth in the Order Setting Conditions of
                       Release.

                                                  Type ofBond

n     (1)              This is a personal recognizance bond.


tr    (2)              This is an unsecured bond of     $   25.000.00


n     (3)              This is a secured bond of    S                                       , secured by:



      n     (a)                                     , in cash deposited   with the court.

      r     (b)        the agreement of the defendant and each surety to forfeit the following cash or
                       other property (describe the cash or other property, including claims on it-
                       such as a lien, mortgage, or loan-and attach proof of ownership and value):



                       If this bond is secured by real property, documents to protect the secured
                       interest may be filed of record.
                                                                                                            c3
                                                                                                            e
      tr    (c)        A bail bond with a solvent surety (attach a copy of the bqil bon:d, or describe it   C{
                                                                                                            +
                       and identify the surety):                                                            e
                                                                                                            c-t
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                                                                                                            o
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                                            Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply
with the above agreement. The court may immediately order the amount of the bond surrendered
to the United States, including the security for the bond, if the defendant does not comply with
the agreement. At the request of the United States, the court may order a judgment of forfeiture
against the defendant and each surety for the entire amount of the bond, including interest and
costs.

Release of the Bond. The court may order this appearance bond ended at any time. This bond
will be satisfied and the security will be released when either: (l) the defendant is found not
guilty on all charges, or (2) the defendant reports to serve a sentence.

                                                       Declarations

Ownership of the Property. I, the defendant-and each surety-declare under penalty of perjury
that:

                   (1)    All owners of the property securing this      appearance bond are included on the
                          bond;
                   (2)    The property is not subject to claims, except as described above; and
                   (3)    I will not sell the property, allow further claims to be made against it, or do
                          anything to reduce its value while this appearance bond is in effect.

Acceptance. I, the defendant-and each surety-have read this appearance bond and have either
read all the conditions of release set by the court or had them explained to me. I agree to this
Appearance Bond.

I, the defendant-and each surety-declare under penalty of perjury that this information is true,
(See 28 U.S.C. $ 1746.)



          D/1f D-,
"^,",

        Sur e ty/pr op e r ty ow   ner-pr   inte d name         Sur   ety/property owner-s ignatur e and date


        Sur e ty/pr op er ty ow ne   r-pr   int e d nome        Surety/property ow ner-s i gnatur e and date


        Surety/property owner-printed             name         Surety/property owner-signature and date

                                                   CLERK OF COURT
Date:
                                                                                   Clerk or Deputy Clerk
             trl
D",.,lN'J                llL
